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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                    Southern Division


UNITED STATES OF AMERICA,                         *

        Plaintiff,                                *
v.                                                            Case No.: GJH-19-96
                                                  *
CHRISTOPHER PAUL HASSON,
                                                  *
        Defendant.
                                                  *
*       *      *       *       *       *      *    *          *       *       *      *       *
                                              ORDER

        It is hereby ordered, by the United States District Court for the District of Maryland, that:

     1. Defendant Christopher Paul Hasson’s Motion to Dismiss Counts I and II on Second
        Amendment Grounds, ECF No. 62, is DENIED;

     2. Defendant’s Motion to Dismiss Count III on Void-for-Vagueness Grounds, ECF No. 63,
        is DENIED; and,

     3. Defendant’s Motion to Suppress Evidence Seized Pursuant to Search Warrants, ECF No.
        66, is DENIED.

Dated: September      20 , 2019                               /s/
                                                              GEORGE J. HAZEL
                                                              United States District Judge
